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                                                                                 December 20, 2023

                                                                             CLERK, U.S. DISTRICT COURT
                          UNITED STATES DISTRICT COURT                       WESTERN DISTRICT OF TEXAS
                        FOR THE WESTERN DISTRICT OF TEXAS                        By:        DT
                                 El PASO DIVISION
                                 EL Paso                                                          Deputy

                                                               Case No:           EP:23-CR-02507-KC
 UNITED STATES OF AMERICA

        Plaintiff                                    S E A L E D
                                                     INDICTMENT
                v.
                                                     COUNTS 1-3: 18 U.S.C. § 1343
 JESUS^RODRIGUEZ DE LA CRUZ^                         Wire Fraud

        Defendant
                                                     COUNT 4: 18 U.S.C. § 1957(a)
                                                     Engaging in a Monetary Transaction Over
                                                     $10,000 Using Criminally Derived Proceeds

                                                     COUNT 5: 18 U.S.C. § 1028(a)(7)
                                                     Identity Theft

                                                     COUNT 6: 18 U.S.C. § 1028A
                                                     Aggravated Identity Theft



THE GRAND JURY CHARGES:

                                  GENERAL ALLEGATIONS

       At all times relevant to this Indictment:

       1.      Morgan Stanley is a Delaware Corporation with its principal place of business in

New York, New York. Morgan Stanley provides diversified financial services, including in global

asset management, investment banking, and global securities. Among these, Morgan Stanley offers

financial advisement services.

       2.      Defendant JESUS RODRIGUEZ DE LA CRUZ was employed as a financial

advisor at Morgan Stanley in El Paso, Texas. In this capacity, RODRIGUEZ managed client

accounts and advised clients residing primarily in El Paso, Texas, and Mexico.




                             COUNTS ONE THROUGH THREE
                                     (Wire Fraud)
                                   (18 U.S.C. § 1343)
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            3.      Counts One through Three incorporate by reference, as if fully set forth herein,

     each and every paragraph of this Indictment.

                                     THE SCHEME TO DEFRAUD

            4.      Beginning at least by May 2018 and continuing to on or about August 2021,

     Defendant JESUS RODRIGUEZ DE LA CRUZ devised and intended to devise a scheme to

     defraud Morgan Stanley and R.S., of money and to obtain money by means of materially false and

     fraudulent pretenses, representations and promises.

                                         MANNER AND MEANS

            5.      While working as a financial advisor at Morgan Stanley, RODRIGUEZ

strated the fraudulent transfers ofmoney                                                               in ban




            7.      RODRIGUEZ managed R.S.’s investment accounts with Morgan Stanley. Prior

     to November of 2018, RODRIGUEZ persuaded R.S. to open a Morgan Stanley line of credit

     account ending in 4851 (“R.S.’s line of credit account”).      A line of credit agreement is an

     arrangement between a financial institution—usually a bank—and a customer that establishes the

     maximum loan amount that the customer can borrow. The borrower can access funds from the line

     of credit at any time as long as they do not exceed the maximum amount (or credit limit) set in the

     agreement.

            8.      According to Morgan Stanley policy at place during times relevant to this

     Indictment, a customer can access funds from the line of credit with verbal authorization if those

     funds are under $50,000.       Morgan Stanley required written customer authorization for
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disbursements over $50,000.

        9.       RODRIGUEZ created false communications and documents impersonating R.S.

and submitted them to Morgan Stanley personnel to cause fraudulent transfers of money drawn on

R.S.’s line of credit account for RODRIGUEZ’s profit.

        10.      Morgan Stanley relied on these false documents and communications in allowing

the financial transactions on R.S.’s line of credit account to proceed.

        11.      On or about December 24, 2018, RODRIGUEZ completed a “Verbal Wire

Processing Form,” an internal Morgan Stanley form, falsely claiming that R.S. had verbally

authorized the transfer of $48,575.36 from R.S.’s line of credit account for the purchase of real

estate in El Paso. RODRIGUEZ submitted this form to Morgan Stanley personnel. Relying on

this documentation, Morgan Stanley initiated the wire transfer from R.S.’s line of credit account,

through the agent bank of Citibank, to an account at a separate financial institution which belonged

to a family member of RODRIGUEZ. RODRIGUEZ knew that R.S. never authorized this

transaction.

        12.      On or about December 26, 2018, RODRIGUEZ emailed his Morgan Stanley email

account, jesus1.rodriguez@morganstanley.com, from elalamosot@gmail.com, a fictitious Gmail

account he had created to impersonate R.S. Attached to the email, RODRIGUEZ included a fake

letter he had drafted in which R.S. purportedly authorized a $125,000.000 wire transfer from her

line of credit account for the purchase of commercial property in El Paso. RODRIGUEZ affixed

a copy of R.S.’s signature to this letter, even though he knew R.S. had not authorized the

transaction, created, or signed this letter. RODRIGUEZ submitted this letter to Morgan Stanley

personnel via email. Relying on this documentation, Morgan Stanley initiated the wire transfer of

$125,000.00 from R.S.’s line of credit account to take place on or about December 26, 2018,

through the agent bank of Citibank, to an account at a separate financial institution owned by the

seller of a Lamborghini. RODRIGUEZ used this $125,000.00 to purchase a Lamborghini for
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himself.

         13.     On or about January 18, 2019, RODRIGUEZ sent Morgan Stanley personnel

another fake letter he had drafted in which R.S. purportedly authorized a $56,500.00 wire transfer

from R.S.’s line of credit account for improvements on commercial property in El Paso.

RODRIGUEZ affixed a copy of R.S.’s signature to this letter, even though he knew that R.S. had

not authorized the transaction, created, or signed this letter. Relying on this documentation,

Morgan Stanley initiated the wire transfer of $56,500.00 from R.S.’s line of credit account to take

place on or about January 18, 2019, through the agent bank of Citibank, to an account at a separate

financial institution which belonged to a family member of RODRIGUEZ.

                                 EXECUTION OF THE SCHEME

         14.     On or about the following dates, in the Western District of Texas and elsewhere,

Defendant,

                                JESUS RODRIGUEZ DE LA CRUZ,

having devised and intended to devise the aforesaid scheme, for the purpose of executing said

scheme, and attempting to do so, did knowingly transmit and cause to be transmitted in interstate

commerce by means of a wire communication, certain signs, signals and sounds to and from the

Western District of Texas, as described below.




  Count        Approximate Date                                Transaction

     1             12/24/2018       Wire of approximately $48,575.36 from R.S.’s Morgan Stanley line
                                    of credit account ending in 4851, via agent bank Citibank, to an
                                    account at a separate financial institution ending in 9126

     2             12/26/2018       Email from elalamosot@gmail.com to
                                    jesus1.rodriguez@morganstanley.com, with a false and forged
                                    letter from R.S. falsely authorizing wire transfer of approximately
                                    $125,000.00
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     3             12/26/2018        Wire of approximately $125,000.00 from R.S.’s Morgan Stanley
                                     line of credit account ending in 4851, via agent bank Citibank, to
                                     an account at a separate financial institution ending in 0399,
                                     facilitating RODRIGUEZ’s purchase of a Lamborghini




         All in violation of Title 18, United States Code, Section 1343.

                                      COUNT FOUR
    (Engaging in a Monetary Transaction Over $10,000 Using Criminally Derived Proceeds)
                                   (18 U.S.C. § 1957(a))

         15.     Count Four incorporates by reference, as if fully set forth herein, each and every

paragraph of this Indictment.

         16.     On or about January 18, 2019, in the Western District of Texas and elsewhere,

Defendant,

                                JESUS RODRIGUEZ DE LA CRUZ,

did knowingly engage and attempt to engage in a monetary transaction affecting interstate

commerce in criminally derived property of a value greater than $10,000 by, through, or to a

financial institution, to wit, a wire of approximately $56,500.00 from R.S.’s Morgan Stanley lin




                          of credit                        ac




                                           COUNT FIVE
                                           (Identity Theft)
                                       (18 U.S.C. § 1028(a)(7))

         16.     On or about December 26, 2018, in the Western District of Texas and elsewhere,

Defendant,

                                JESUS RODRIGUEZ DE LA CRUZ,
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did knowingly transfer, possess, and use in or affecting interstate commerce, without lawful

authority, a means of identification of another person, to wit, a letter with the false and fraudulent

signature of R.S., knowing that the means of identification belonged to another actual person, with

+he 1nten+ tA    eAmm14 , Ar 1n eAhnAAf1An   1X71 +h , an 111171 Ac+1171 +1y   +hat eAnG+11114 AA AnA Ar mArA

felonies, to wit, Wire Fraud under Title 18, United States Code, Section 1343, as charged in Counts

Two and Three of the Indictment, all in violation of Title 18, United States Code, Section

1028(a)(7).


                                              COUNT SIX
                                       (Aggravated Identity Theft)
                                        (18 U.S.C. § 1028A(a)(1))

        17.       On or about December 26, 2018, in the Western District of Texas and elsewhere,

Defendant,

                                JESUS RODRIGUEZ DE LA CRUZ,

did knowingly transfer, possess, and use, without lawful authority, a means of identification of

another person, to wit, the signature of R.S., which included R.S.’s full name, during and in relation

to a felony violation enumerated in Title 18, United States Code, Section 1028A(c), wit, Wire

        Fraud under Title 18, United States Code, Section 1343, as charged                   in




     NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                          [See Fed. R. Crim. P. 32.2]

This Notice of Demand for Forfeiture includes but is not limited to the property described below.

                                              I.
                        Wire Fraud Violations and Forfeiture Statutes
     [Title 18 U.S.C. §§ 1343 and 1349, subject to forfeiture pursuant to Title 18 U.S.C. §
      981(a)(1)(C), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

        As a result of the foregoing criminal violations set forth in Counts One through Three, the
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United States of America gives notice to the Defendant of its intent to seek the forfeiture of the

property described below upon conviction pursuant to Fed. R. Crim. P. 32.2 and to Title 18 U.S.C.

§ 981(a)(1)(C) , made applicable to criminal forfeiture by Title 28 U.S.C. § 2461, which states:

       Title 18 U.S.C. § 981. Civil forfeiture

               (a)(1) The following property is subject to forfeiture to the United States:
                                                 * * *
               (C) Any property, real or personal, which constitutes or is derived from proceeds
               traceable to a violation of section ... or any offense constituting “specified unlawful
               activity” (as defined in section 1956(c)(7) of this title), or a conspiracy to commit
               such offense.

Wire Fraud is an offense constituting “specified unlawful activity” as defined in Title 18 U.S.C. §
1956(c)(7).

       Title 28 U.S.C. § 2461.
                (c) If a person is charged in a criminal case with a violation of an Act of Congress
                for which the civil or criminal forfeiture of property is authorized, the Government
                may include notice of the forfeiture in the indictment or information pursuant to
                the Federal Rules of Criminal Procedure...




                                               II.
                    Money Laundering Violations and Forfeiture Statutes
   [Title 18 U.S.C. § 1957(a), subject to forfeiture pursuant to Title 18 U.S.C. § 982(a)(1)]

       As a result of the criminal violations set forth in Count Four, the United States of America

gives notice to the Defendant of its intent to seek the forfeiture of property upon conviction

pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 982(a)(1), which states:

       Title 18 U.S.C. § 982. Criminal forfeiture
               (a)(1) The court, in imposing sentence on a person convicted of an offense
               in violation of section 1956, 1957 . . . shall order that the person forfeit to
              the United States any property, real or personal, involved in such offense,
               or any property traceable to such property.

                                               III.
                                             Property

           2015 Lamborghini Huracan VIN Number ZHWEC1ZF6FLA02444
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                                               IV.
                                          Money Judgment

Money Judgment: a sum of money which represents value of the property involved in and the
amount of proceeds the Defendant obtained directly or indirectly as a result of the violations set
forth above for which the Defendant is liable.

                                                 V.
                                        Substitute Property

        If any property subject to forfeiture for the violations set forth above, as a result of any act

or omission of the Defendant:

        a.   cannot be located upon the exercise of due diligence;
        b.   has been transferred or sold to, or deposited with, a third party;
        c.   has been placed beyond the jurisdiction of the court;
        d.   has been substantially diminished in value; or
        e.   has been commingled with other property which cannot be divided without difficulty;

it is the intent of the United States of America to seek forfeiture of any other property, up to the

value of said money judgment, as substitute property pursuant to Title 21 U.S.C. § 853(p) and Fed.

R. Crim. P. 32.2(e)(1).




JAIME ESPARZA
UNITED STATES ATTORNEY



By: _                             for
FOR:               CALVE
        Assistant United States Attorney

By: ______
FOR: AD                    OS
       Assistant United States Attorney
